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                                                                                             Form 18-1


                                                                                   Form 18

                 UNITED STATES COURT OF INTERNATIONAL TRADE



     TAIZHOU UNITED IMP. & EXP. CO.
     LTD., et aL,

                          Plaintiff and
                          Consolidated Plaintiffs,

                     V.                                 Court No. 16-00009
     UNITED STATES,                                     [and Attached Schedule]

                          Defendant,

                     and

     ALUMINUM EXTRUSIONS FAIR TRADE
     COMMITTEE,

                          Defendant-Intervenor.



                     NOTIFICATION OF TERMINATION OF ACCESS
                      TO BUSINESS PROPRIETARY INFORMATION
                             PURSUANT TO RULE 73.2(c)



                Claire M. Webster                      declares that (check one)


1)        TERMINATION BY AN INDIVIDUAL


      a     Iam an attorney/consultant representing or retained on behalf of Aluminum Extrusions
            Fair Trade Committee in this action (and on behalf of the parties indicated in the actions
            listed on the attached schedule). Ihereby give notice that Iam no longer involved in
            the litigation in this action (and those actions listed on the attached schedule) and,
            therefore, Ihave terminated my access to Business Proprietary Information in such
            action(s). I certify that Ihave not retained any documents, including copies of
            documents, work papers, notes or records in electronic media, containing Business
            Proprietary Information, except as may be authorized by the court or agency for use
            in the following action(s) or administrative proceeding(s):

                    N/A                                                       N/A
              [Name of proceeding]                                  [Case or investigation no.]

                                                 OR
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2)     TERMINATION BY A FIRM


             Iam an attorney representing                                              in this action
             (and the parties indicated in the actions listed on the attached schedule). Ihereby
             give notice that, because of the termination of all litigation in this action (and those
             actions listed on the attached schedule) or otherwise, Ihave terminated the access
             to Business Proprietary Information by myself, the other attorneys and staff of my
             firm, and any consultants whose access to Business Proprietary Information under
             Rule 73.2(c) and Administrative Order No. 02-01 is subject to the direction and
             control of myself or amember of my firm. Icertify that all documents, including
             copies of documents, work papers, notes, and records in electronic media,
             containing Business Proprietary Information subject to Rule 73.2(c) and
             Administrative Order No. 02-01 in this action (and those actions listed on the
             attached schedule) have been destroyed, except as may be authorized by the court
             or agency for use in the following action(s) or administrative proceeding(s):



               [Name of proceeding]                                 [Case or investigation no.]

       Irecognize that Iremain bound by the terms of Administrative Order No. 02-01 of the
       United States Court of International Trade, and that Imay not divulge the Business
       Proprietary Information that Ilearned during this action (and those actions listed on the
       attached schedule) or in the administrative proceeding(s) that gave rise to the action(s) to
       any person.



                                                     /s/ Claire M Webster
                                                     Claire M. Webster, Esq.

                                                     W ILEY REIN LLP
                                                     2050 M Street, NW
                                                     Washington, DC 20036
                                                     (202) 719-7000
                                                     WileyTrade@wiley.law

                                                     Counsel to Aluminum Extrusions Fair Trade
                                                     Committee

     Date:      September 29, 2022
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                     Schedule to Notification of Termination of Access
                           to Business Proprietary Information


Court Number(s)                 Case Name                     Party or Parties Represented

                                                               Aluminum Extrusions Fair
                    Worldwide Door Components, Inc. v.
   19-00012                                                    Trade Committee, Endura
                               United States
                                                                     Products, Inc.

                                                              Aluminum Extrusions Fair
                   Columbia Aluminum Products, LLC v.
   19-00013                                                    Trade Committee, Endura
                               United States
                                                                    Products, Inc.

                   Columbia Aluminum Products, LLC v.
   19-00185                                                      Endura Products, Inc.,
                               United States

                    Worldwide Door Components, Inc. v.
   20-00062                                                      Endura Products, Inc.
                               United States

                  China Custom Mantfacturing Inc. et al v.    Aluminum Extrusions Fair
   20-00121
                               United States                       Trade Committee

                    WKW North America, LLC v. United          Aluminum Extrusions Fair
   21-00072
                                   States                        Trade Committee

                    Global Aluminum Distributor LLC v.        Aluminum Extrusions Fair
   21-00198
                             United States et al                   Trade Committee

                     Aluminum Extrusions Fair Trade           Aluminum Extrusions Fair
   21-00253
                         Committee v. United States                Trade Committee

                                                              Aluminum Extrusions Fair
   21-00337        H&E Home, Inc. et al v. United States
                                                                   Trade Committee

                  Coalition cfAmerican Mantfacturers cf         Coalition of American
   22-00002         Mobile Access Equipment v. United          Manufacturers of Mobile
                                   States                        Access Equipment

                                                              Aluminum Extrusions Fair
   22-00072       Kingtom Aluminio S.R.L. v. United States
                                                                   Trade Committee

                                                             The Aluminum Extrusions Fair
   22-00079       Kingtom Aluminio S.R.L. v. United States
                                                                   Trade Committee

                  Coalition cfAmerican Mantfacturers cf         Coalition of American
   22-00152         Mobile Access Equipment v. United          Manufacturers of Mobile
                                   States                         Access Equipment
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   22-00170       Hyundai Steel Company v. United States         Nucor Corporation


                      Aluminum Extrusions Fair Trade          Aluminum Extrusions Fair
   22-00236
                         Committee v. United States              Trade Committee


(As amended, Jan. 25, 2000, eff. May 1, 2000; Sept. 30, 2003, eff. Jan. 1, 2004; Dec. 7,
2010, eff. Jan. 1, 2011; Feb. 6, 2013, eff. Mar. 1, 2013.)
